                        Case 6:19-ap-00305-KSJ                      2
                                                                Doc 3             09/03/19
                                                                            Filed 09/06/19            Page 1 of 8

                                                    U.S. Bankruptcy Court
                                                   Middle District of Florida
In re:                                                               Bankruptcy Case No. 6:19−bk−03695−KSJ
SALLY E. WARD AND TAYLOR C. WARD
Debtor
                                                                     Adversary Proceeding No. 6:19−ap−00305−KSJ
SUNSHINE BABYSITTING, INC.
Plaintiff
v.
TAYLOR C. WARD
Defendant
                                 SUMMONS IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the
Bankruptcy Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall
submit a motion or answer to the complaint within 35 days of issuance.

Address of Clerk
                                                       Clerk, U.S. Bankruptcy Court
                                                       Middle District of Florida
                                                       400 West Washington Street, Suite 5100
                                                       Orlando, FL 32801
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's Attorney
                                                       Antonio Pagan, Jr
                                                       1824 E. Robinson Street
                                                       Orlando, FL 32803
If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.


YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be held at the following
time and place:


           Address:    George C. Young Federal Courthouse                     Room: Courtroom 6A, 6th Floor
                       400 West Washington Street                             Date and Time:  Tuesday December 17, 2019 at 2:00PM
                       Orlando, FL 32801


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY
OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR
THE RELIEF DEMANDED IN THE COMPLAINT.




                                                       Clerk, U.S. Bankruptcy Court
*** Important Notice ***
.
The enclosed Certificate of Service must be filed with the court along with a copy of this summons after service
has been made on the parties.


CSD 3007
                            Case 6:19-ap-00305-KSJ                             2
                                                                           Doc 3         09/03/19
                                                                                   Filed 09/06/19     Page 2 of 8
[Dntcpsca] [District Notice Scheduling Pretrial/Status Conference Adversary]
                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                          ORLANDO DIVISION
                                                          www.flmb.uscourts.gov

In re:                                                                   Case No. 6:19−bk−03695−KSJ
                                                                         Chapter 7
Sally E. Ward
Taylor C. Ward
________Debtor*________/

Sunshine Babysitting, Inc.




              Plaintiff*


vs.                                                                      Adv. Pro. No. 6:19−ap−00305−KSJ


Taylor C. Ward




________Defendant*________/

                                    NOTICE SCHEDULING PRETRIAL/STATUS CONFERENCE

    NOTICE IS GIVEN THAT:

           1. A Pretrial/Status Conference will be held in Courtroom 6A, 6th Floor, George C. Young
           Courthouse, 400 West Washington Street, Orlando, FL 32801, on December 17, 2019, at 2:00 PM ,
           before the Honorable Karen S. Jennemann, United States Bankruptcy Judge.

                                                                 FOR THE COURT
              Dated: September 3, 2019                           Sheryl L. Loesch , Clerk of Court
                                                                 George C. Young Federal Courthouse
                                                                 400 West Washington Street
                                                                 Suite 5100
                                                                 Orlando, FL 32801


           *All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
           individuals.

           *All references to "Plaintiff" or "Defendant" shall include and refer to multiple plaintiffs or
           defendants.
             Case 6:19-ap-00305-KSJ                2
                                               Doc 3           09/03/19
                                                         Filed 09/06/19     Page 3 of 8



                                             Rule 7001-1

                      ADVERSARY PROCEEDINGS -- PROCEDURES


        (a)     General. This rule applies to all adversary proceedings and, if ordered by the
Court, to contested matters. To the extent that the time periods set forth in this rule conflict with
those set forth in the Federal Rules of Civil Procedure, the Federal Rules of Bankruptcy
Procedure, or other Local Rules, this rule controls.

        (b)      Service. Plaintiff shall serve the summons issued by the Clerk, the complaint, and
a copy of this rule within seven days after the summons is issued as required by Fed. R.
Bankr. P. 7004(e). If the initial summons and accompanying papers are not timely served,
plaintiff shall promptly request the issuance of an alias summons and serve the alias summons
together with the complaint and a copy of this rule. Plaintiff must serve all defendants no later
than 28 days after the complaint is filed. If an additional party is thereafter named as a plaintiff
or a defendant, plaintiff shall serve a copy of this rule on each additional party within seven days
of the date that the additional party is named.

        (c)    Proof of Service. Plaintiff shall promptly file a proof of service indicating the
service of each summons, the complaint, and this rule on each defendant.

        (d)     Failure to Effect Service. If plaintiff does not complete timely and effective
service of the summons and complaint, the Court may dismiss the adversary proceeding for lack
of prosecution without further notice or hearing. If plaintiff requires additional time to effect
service, plaintiff shall file a motion for extension of time.

        (e)    Defaults. If a defendant has not filed a timely response, plaintiff shall seek entry
of a Clerk’s default of that defendant and move for judgment by default no later than 60 days
after the complaint is filed. If plaintiff requires additional time to apply for the entry of default or
to move for judgment by default, plaintiff shall file a motion for extension of time.

        (f)    Initial Disclosures. Pursuant to Fed. R. Civ. P. 26(f), at or prior to the Meeting of
Parties described below, and without any formal discovery requests, each party shall:

              (1)    identify in writing the name and, if known, the address and telephone
number of each individual with discoverable information relevant to the disputed facts;

              (2)     provide copies of or a written description by category and location of all
documents that are relevant to the disputed facts;

                (3)     provide a written computation of any damages claimed; and

                 (4)     provide a copy of any insurance agreement that may be available to satisfy
all or part of a possible judgment in the action or to indemnify or reimburse for payments made
to satisfy the judgment.
             Case 6:19-ap-00305-KSJ               2
                                              Doc 3           09/03/19
                                                        Filed 09/06/19     Page 4 of 8




       (g)     Meeting of Parties. At least 14 days prior to the initial status or pretrial
conference, the attorneys for the parties or the parties, if not represented by an attorney, shall
meet (the “Meeting of Parties”) to discuss:

               (1)     the parties’ claims and defenses;

               (2)     the possibility of settlement;

               (3)     the initial disclosures required in subsection (f) above; and

               (4)     a discovery plan as required by Fed. R. Civ. P. 26(f). Unless otherwise
ordered by the Court, the parties may orally announce their discovery plan at the pretrial or status
conference and need not file a written report.

        (h)     Pretrial or Status Conference. The Court will conduct a status or pretrial
conference at any time after a responsive pleading is filed but, in any event, approximately 90
days after the complaint is filed. The parties may not introduce testimony or documentary
evidence at the status conference. The Court, however, may consider relevant undisputed facts,
affidavits offered without objection from the opposing parties, judicial notice items, and
admissions made during the status conference by parties either directly or through counsel.

       (i)     Discovery.

               (1)    General. Parties should be familiar with the Local Rules regarding
discovery, including Local Rules 7026-1, 7030-1, and 7037-1.

             (2)     Commencement of Discovery. Absent leave of Court, discovery may not
commence until the conclusion of the Meeting of Parties.

                 (3)    Discovery Deadline. Parties shall complete discovery no later than seven
days before the trial date except that the parties may complete previously scheduled depositions
up to the trial date.

                (4)     Discovery Disputes. If a discovery dispute occurs, the parties shall first, as
required by Fed. R. Bankr. P. 7037(a)(1), confer in good faith to attempt to resolve the issues. If
the parties are unable to resolve the dispute, any party may request a telephone conference with
the Court so that the Court may render an informal, preliminary ruling on the discovery dispute,
without prejudice to the right of any party to file a formal motion.
             Case 6:19-ap-00305-KSJ             2
                                            Doc 3           09/03/19
                                                      Filed 09/06/19     Page 5 of 8



       (j)     Motions.

               (1)    Motions Shall Be Served Using the Court’s Negative Notice Procedures.
All motions, except for the following types of motions, shall be filed and served using the
negative notice procedures of Local Rule 2002-4:

               (i)     stipulated, joint, or consent motions;
               (ii)    motions for enlargement of time;
               (iii)   motions for continuance;
               (iv)    motions seeking emergency or expedited relief;
               (v)     motions for entry of default and for default judgment; and
               (vi)    motions for withdrawal of the reference governed by Local Rule 5011-1.

The negative notice legend shall provide for a 14-day response period, except for motions for
summary judgment for which the response time shall be 21 days, unless otherwise ordered by the
Court. The moving party may file a reply, if desired, no later than seven days after the response
is filed.

                (2)    Format. All motions, responses, and replies shall comply with the Court’s
Style Guide posted on the Court’s website, www.flmb.uscourts.gov. Papers shall be double
spaced and, where appropriate, include a legal memorandum containing argument and citations
of authorities. Absent leave of Court, motions and supporting memoranda shall not exceed ten
pages in length.

                (3)     Emergency Motions. The Court will consider emergency motions at any
time in its discretion. Emergency motions shall comply with Local Rule 9004-2(e) and shall be
filed using the Emergency Filings/Matters/Motions link on the Court’s website,
www.flmb.uscourts.gov.

                (4)     Motions to Determine Whether Case Is Core. A party who objects to the
entry of final orders or judgments by the Bankruptcy Court on any issue in the adversary
proceeding shall, not later than the date set for filing a response to the complaint, file a motion
requesting that the Court determine whether the proceeding is a core proceeding or otherwise
subject to the entry of final orders or judgments by this Court. A party who fails to file a motion
on or before the date set for filing a response to the complaint shall be deemed to have consented
to the Bankruptcy Court’s entering final orders and judgments in the proceeding, subject only to
appeal under 28 U.S.C. § 158.

                (5)     Motions for Summary Judgment. Motions for summary judgment shall
be filed no later than 60 days prior to trial. The Court may or may not set a hearing on the motion
for summary judgment. Absent order of the Court, the trial will proceed as scheduled even if a
motion for summary judgment is pending.

       (k)     Pretrial Disclosures of Witnesses and the Use of Depositions. Fed. R. Civ. P.
26(a)(3) (except with respect to time limits) shall govern pretrial disclosures regarding witnesses
and use of depositions. Parties shall file and exchange names, telephone numbers, and addresses
             Case 6:19-ap-00305-KSJ               2
                                              Doc 3           09/03/19
                                                        Filed 09/06/19      Page 6 of 8



for witnesses, and any designations of depositions at least 28 days before trial. Objections to the
use of depositions shall be filed within 14 days of the disclosure. Parties shall confer on any
factual or evidentiary stipulations prior to trial.

       (l)     Exhibits.

                (1)     Exhibits to be Filed and Exchanged via CM/ECF. Parties shall prepare
exhibits in compliance with Local Rule 9070-1 and Administrative Order FLMB-2015-6
addressing Electronically Stored Exhibits and shall exchange exhibits no later than seven days
before the date set for trial. Unless written objection to the admissibility of any exhibit is filed no
later than the close of business on the second day before trial, any objection to admissibility
(other than under Fed. R. Evid. 402 and 403) shall be deemed waived.

                (2)     Self-Authentication of Records of Regularly Conducted Activity. A party
who intends to rely upon the self-authentication procedures of Fed. R. Evid. 902(11) or (12) to
introduce into evidence records of regularly conducted activities under Fed. R. Evid. 803(6)
shall, within least 28 days before trial, file with the Court and serve on other parties the written
declaration required by Fed. R. Evid. 902(11) or (12) and a copy of all records sought to be
admitted.

       (m)     Expert Witness Testimony. Unless the Court orders otherwise, a party who
wishes to offer expert testimony at trial shall comply with the requirements of Fed. R. Civ. P.
26(a)(2).

      (n)      Stipulations. All stipulations of the parties shall be made in writing, signed, and
promptly filed with the Court.

        (o)     Supplementation of Disclosures. Parties are under a duty to supplement or
correct their Initial Disclosures and their Pretrial Disclosures in accordance with Fed. R. Civ. P.
26(e).

        (p)     Sanctions. Failure to comply with all requirements of this rule may result in the
imposition of sanctions that could include the striking of a party’s pleading or the denial of the
right to introduce evidence or witness testimony.

        (q)    Settlements. Pursuant to Local Rule 9019-1, parties shall immediately notify the
Court of any settlement and promptly file and serve a motion to approve the compromise in the
debtor’s main case, not in the adversary proceeding. If the complaint asserts claims under 11
U.S.C. § 523 only, a motion to approve the compromise is not necessary. However, if desired,
the parties may seek approval of the settlement by filing a motion in the adversary proceeding.
             Case 6:19-ap-00305-KSJ              2
                                             Doc 3          09/03/19
                                                      Filed 09/06/19     Page 7 of 8



                                  ________________________

                                  Notes of Advisory Committee

                                               2016

        This new rule incorporates the provisions of archived Administrative Order FLMB-2014-
1 “Administrative Order Prescribing Procedures for Adversary Proceedings.” In addition,
section (f)(4) regarding pretrial disclosures is now consistent with Fed. R. Civ. P. 26(f). The rule
also clarifies the requirement that motions in adversary proceedings be filed and served using the
negative notice procedures of Local Rule 2002-4. This rule is effective July 1, 2016.
Case 6:19-ap-00305-KSJ   Doc 3   Filed 09/06/19   Page 8 of 8
